972 F.2d 339
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Walter L. GREEN, Plaintiff-Appellant,v.Officer HOLMES;  Sergeant Ellis, Defendants-Appellees.
    No. 92-6467.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 20, 1992Decided:  August 4, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  B. Waugh Crigler, Magistrate Judge.  (CA-91-535-R)
      Walter L. Green, Appellant Pro Se.
      William Rundahl Coleman, Office of The Attorney General of Virginia, Richmond, Virginia, for Appellees.
      W.D.Va.
      Dismissed.
      Before MURNAGHAN, HAMILTON, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Walter L. Green noted this appeal outside the thirty-day appeal period established by Fed.  R. App.  P. 4(a)(1), and failed to move for an extension of the appeal period within the additional thirty-day period provided by Fed.  R. App.  P. 4(a)(5).  The time periods established by Fed.  R. App.  P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    